                 Case 2:18-mj-00191-CKD Document 17 Filed 12/12/18 Page 1 of 4


 1 McGREGOR W. SCOTT
   United States Attorney
 2 ROBERT J. ARTUZ
   Special Assistant U.S. Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:18-MJ-00191-CKD
12                                  Plaintiff,             AMENDED STIPULATION FOR EXTENSION OF
                                                           TIME FOR PRELIMINARY HEARING
13                           v.                            PURSUANT TO RULE 5.1(D) AND EXCLUSION
                                                           OF TIME AND [PROPOSED] FINDINGS AND
14   MATTHEW CORE and                                      ORDER
     TONI TINAY,
15                                                         DATE: December 13, 2018
                                                           TIME: 2:00 p.m.
16                                 Defendants.             COURT: Hon. Allison Claire
17

18          Plaintiff United States of America, by and through its attorney of record, Special Assistant U.S.

19 Attorney ROBERT J. ARTUZ, and Defendant, Toni Tinay, both individually and by and through her

20 counsel of record, Noa Oren, hereby stipulate as follows:

21          1.       The Complaint in this case was filed on September 21, 2018, and Defendant Toni Tinay

22 first appeared before a judicial officer of the Court in which the charges in this case were pending on

23 September 25, 2018. Defendant Matthew Core is not yet in federal custody and a warrant is out for his

24 arrest. The court set a preliminary hearing date of December 13, 2018.

25          2.       By a previous stipulations and orders, the Court continued the preliminary hearing date

26 from October 9, 2018, to November 15, 2018, and again to December 13, 2018, and excluded time.

27 ECF 9 & 14.

28          3.       By this third stipulation, the parties jointly move for an additional extension of time of

      STIPULATION                                          1
                 Case 2:18-mj-00191-CKD Document 17 Filed 12/12/18 Page 2 of 4


 1 the preliminary hearing date to January 25, 2019, at 2:00 p.m., before the duty Magistrate Judge,

 2 pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure. The parties stipulate that the delay is

 3 required to allow the defense reasonable time for preparation, and for the government’s collection and

 4 production of discovery and continuing investigation of the case. For example, the government is

 5 continuing to collect and provide discovery relevant to this case. Defense counsel needs additional time

 6 to review and consider all the evidence and to conduct further investigation. The parties further agree

 7 that the interests of justice served by granting this continuance outweigh the best interests of the public

 8 and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 9          4.       The parties agree that good cause exists for the extension of time, and that the extension

10 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

11 Therefore, the parties request that the time between December 13, 2018, and January 25, 2019, be

12 excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

13          IT IS SO STIPULATED.

14
      Dated: December 10, 2018                                MCGREGOR W. SCOTT
15                                                            United States Attorney
16
                                                              /s/ ROBERT J. ARTUZ
17                                                            ROBERT J. ARTUZ
                                                              Special Assistant U.S. Attorney
18

19
      Dated: December 10, 2018                                /s/ NOA OREN
20                                                            NOA OREN
21                                                            Assistant Federal Defender
                                                              Counsel for Defendant
22                                                            Toni Tinay

23

24

25

26

27

28

      STIPULATION                                         2
                 Case 2:18-mj-00191-CKD Document 17 Filed 12/12/18 Page 3 of 4


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 ROBERT J. ARTUZ
   Special Assistant U.S. Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-MJ-00191-CKD
12                                 Plaintiff,             AMENDED [PROPOSED] FINDINGS AND
                                                          ORDER EXTENDING TIME FOR PRELIMINARY
13                           v.                           HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   MATTHEW CORE and
     TONI TINAY,                                          DATE: December 13, 2018
15                                                        TIME: 2:00 p.m.
                                                          COURT: Hon. Allison Claire
16                                Defendants.
17

18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on December 10, 2018.

20 The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27          THEREFORE, FOR GOOD CAUSE SHOWN:
28          1.       The date of the preliminary hearing is extended to January 25, 2019, at 2:00 p.m.

      [PROPOSED] FINDINGS AND ORDER                        1
                Case 2:18-mj-00191-CKD Document 17 Filed 12/12/18 Page 4 of 4


 1         2.       The time between December 13, 2018, and January 25, 2019, shall be excluded from

 2 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 3         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

 4

 5         IT IS SO ORDERED.

 6 DATED: December 11, 2018

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      [PROPOSED] FINDINGS AND ORDER                     2
